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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                 Plaintiffs,

         v.                                                Case No. 1:18-cv-00950-LO-JFA

 COX COMMUNICATIONS, INC., et al.,

                 Defendants.



   CONSENT MOTION TO MODIFY THE RULE 16(B) JOINT DISCOVERY PLAN

       PURSUANT to Federal Rule of Civil Procedure 16(b) and Rule 26 of this Court’s Local

Rules, Plaintiffs Sony Music Entertainment, et al. (collectively, “Plaintiffs”) and Cox

Communications, Inc. and CoxCom, LLC (collectively, “Defendants”) move for entry of an order

for a modest extension of the discovery schedule set forth in the Joint Discovery Plan Pursuant to

Rule 26(f) (ECF Nos. 53 and 60). The parties are not requesting an extension of the pretrial

conference date of June 21, 2019. The grounds for this motion are as follows:

       1.      Despite the parties’ diligence throughout discovery, there are a significant number

of depositions and substantial expert discovery to conduct before the discovery deadline. The

parties moved into depositions as soon as reasonably practicable given the scope and challenges

of document discovery, and have already completed numerous depositions throughout the month

of April. While the bulk of depositions remain to be completed, the parties believe they can be

completed with a short extension of the discovery period not to interfere with the date of the pretrial

conference or broader case resolution.

       2.      The parties’ respective Rule 30(b)(6) depositions involve a number of different

designees per party group. Those depositions are expected to span up to 25 days throughout the
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country, the bulk of it still ahead. There are several additional individual fact depositions

remaining beyond that.

            3.    In addition, substantial third-party discovery is ongoing and has required multiple

rounds of briefing in other courts. Notwithstanding the parties’ diligence towards the case

schedule, imposing those same demands on third parties has been challenging, with mixed results.

One motion regarding third-party discovery is still unresolved, with a hearing set for May 2. It

impacts the scope and location of a third-party deposition involving up to four witnesses spanning

the country and globe. Prompt resolution of that expedited motion, and the ensuing discovery,

impact upcoming expert reports.1 Finally, there are at least eight expert depositions still ahead

(with approximately five rebuttal reports and five reply reports still due).

            3.    Despite the significant number of outstanding depositions, many of which could

not feasibly have been conducted sooner, the parties seek only the modest extension outlined

below. The requested dates do not change the date for the pre-trial conference and should not

impact the timing of the broader case resolution.



    Event                                Original Date                           Requested Date

    Deadline to amend exhibits to May 8, 2019                                    May 15, 2019
    Plaintiffs’ Amended
    Complaint
    Responsive expert reports     May 8, 2019                                    May 15, 2019

    Reply expert reports                 May 30, 2019                            June 13, 2019




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  The parties are hopeful that the resolution and timing of this issue will not require further schedule adjustments but
will advise the Court promptly in the event that should change. Specifically, Defendants are concerned that due to
ongoing third party discovery litigation in the Northern District of California to obtain discovery from MarkMonitor,
Cox Communications, Inc. et al. v. MarkMonitor, Inc., Case No. 3:19-mc-80050-SK, that Defendants may need to
revisit the schedule with the Court. Hopefully that will not be the case.



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 Final pre-trial conference    June 21, 2019                     June 21, 2019

 Close of Discovery            June 14, 2019                     July 2, 2019

 Exhibits, designations,       June 21, 2019                     July 16, 2019
 witnesses, and stipulations
 Objections to exhibits,       July 1, 2019                      July 26, 2019
 designations, and witnesses
 Motions for summary           July 26, 2019                     August 9, 2019
 judgment


Dated: April 30, 2019                              Respectfully submitted,

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